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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION


ANTHONY TOUCHTON,

      Plaintiff,

v.                                    CASE NO.: 5:24-cv-00116-MCR-MJF

DEAN PADGETT and RICKY MAZINGO,

     Defendants.
____________________________________________/

            ANSWER, DEFENSES, AFFIRMATIVE DEFENSES,
                 AND DEMAND FOR JURY TRIAL

      Defendant, Dean Padgett, through counsel and pursuant to Fed. R. Civ. P.

15(a)(1), hereby amends his response to Plaintiff’s Complaint and states as

follows:

      1.     Without knowledge.

      2.     Admitted.

      3.     Admitted.

      4.     Without knowledge.

      5.     Admitted.

      6.     Admitted.

      7.     Without knowledge.

      8.     Without knowledge.
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9.    Denied.

10.   Denied.

11.   Without knowledge.

12.   Denied.

13.   Without knowledge.

14.   Denied.

15.   Denied.

16.   Denied.

17.   Denied.

18.   Denied.

19.   Denied.

20.   Denied.

21.   Denied.

22.   Denied.

23.   Denied.

24.   Denied.

25.   Denied.

26.   Without knowledge.

27.   Without knowledge.

28.   Without knowledge.



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      29.    Denied.

      30.    Admitted.

                                      COUNT I

      Defendant’s responses to paragraphs 1 through 30 are realleged and

reincorporated as if fully set forth herein.

      31.    Denied.

      32.    Denied.

      33.    Denied.

      34.    Denied.

      35.    Denied.

      36.    Denied.

                                      COUNT II

      Defendant’s responses to paragraphs 1 through 30 are realleged and

reincorporated as if fully set forth herein.

      37.    Denied.

      38.    Denied.

      39.    Denied.

      40.    Denied.

      41.    Denied.

      42.    Denied.



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                                       COUNT III

      Defendant’s responses to paragraphs 1 through 30 are realleged and

reincorporated as if fully set forth herein.

      43-46. These allegations are not directed at this Defendant, and therefore,

no response is due from this Defendant under Count III. In an abundance of

caution, all allegations are denied.

                 DEFENSES AND AFFIRMATIVE DEFENSES

      In an abundance of caution, Defendant alleges the following additional

defenses, some of which may be affirmative defenses. These allegations are

raised strictly as defenses and are not to be considered as admissions of Defendant

as to any factual, legal, or other matters.

      1.     Plaintiff fails to state a claim upon which relief may be granted.

      2.     Plaintiff failed to mitigate his damages, if any.

      3.     Defendant’s actions, at all times material hereto, were within the

course and scope of his employment; committed in good faith; lacked malicious

purpose; and were not conducted in a manner exhibiting wanton and willful

disregard of human rights, safety, or property.

      4.     Defendant is immune from liability based upon the doctrine of

qualified immunity.




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      5.    Plaintiff’s complaint may be barred by failing to satisfy conditions

precedent and/or otherwise failing to exhaust administrative remedies.

      6.    Plaintiff’s complaint may be barred by failing to exhaust

administrative remedies under the Prisoner Litigation Reform Act.

      7.    Defendants’ actions were at all times material hereto justified and

otherwise taken in good faith.

      8.    Defendant claims all defenses provided and allowable by law.

      9.    Defendant denies all allegations not expressly admitted herein,

whether numbered or unnumbered, including without limitations, the unnumbered

paragraphs beginning with the word “wherefore,” any and all demands for

judgment, or any relief whatsoever.

                          DEMAND FOR JURY TRIAL

      Defendant requests a trial by jury of all issues so triable.

                                           s/Brian C. Keri
                                           BRIAN C. KERI (FBN 0087874)
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                                           Attorney for Defendant Padgett




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                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished by CM/ECF service to James M. Slater, Esquire, 2296 Henderson Mill
Road N.E. #116, Atlanta, Georgia 30345, on August 7, 2024.

                                          s/Brian C. Keri
                                          Brian C. Keri




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